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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RUSSELL JAMES DOCKEN,

       Plaintiff,                                         Case No.: 1:25-cv-03608

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                         COMPLAINT

       Plaintiff, RUSSELL JAMES DOCKEN (“Docken” or “Plaintiff”), by Plaintiff’s

undersigned counsel, hereby complains of the Partnerships and Unincorporated Associations

identified on Schedule A attached hereto (collectively, “Defendants”), and for Plaintiff’s

Complaint hereby alleges as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

1338(a)–(b), and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant aliases and/or the online marketplace

accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive internet stores through which Illinois residents can purchase


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products bearing infringing versions of Plaintiff’s copyrighted works. Each of the Defendants has

targeted Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars, and, on information and belief, have sold

products bearing infringing versions of Plaintiff’s federally registered copyrighted works to

residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

Additionally, Federal Rule of Civil Procedure 4(k)(2) confers personal jurisdiction over

Defendants because the claims asserted herein arise under federal copyright law, Defendants

would not be subject to jurisdiction in any state’s courts of general jurisdiction, and exercising

jurisdiction is consistent with the United States Constitution and laws.

                                        INTRODUCTION

        3.      Plaintiff, Russell James Docken, is the owner of the federal copyright registrations

that protect the creative content of Plaintiff’s illustrations. Docken is a professional painter who

creates Western living, wildlife, and Native American art. His oil paintings are sensitive

interpretations of people often shown in idealistic settings. Nothing is more intriguing to him than

to look at the diversity and beauty of the human form.

        4.      This action has been filed by Plaintiff to combat online copyright infringers who

trade upon Plaintiff’s reputation, goodwill, and valuable copyrights by selling and/or offering for

sale products in connection with Plaintiff’s illustrations. In addition, the Defendants are selling

unauthorized products that are based on and derived from the copyrighted subject matter of

Plaintiff’s illustrations.

        5.      Plaintiff is the owner of United States Copyright Registration Nos. VA 2-407-046;

VA 2-407-056; VA 2-407-030; VA 2-407-028; and VA 2-407-044 (the “Russ Docken Works”)



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and the registrations are attached hereto as Exhibit 1. Upon information and belief, the copyrights

have an effective date that predate the Defendants’ acts of copyright infringement.

       6.      In an effort to illegally profit from the creative content of the Russ Docken Works,

Defendants have created numerous Defendant Internet Stores and designed them to appear to be

selling authorized Russ Docken Products.

       7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

operation. Plaintiff is forced to file this action to combat Defendants’ piracy of the Russ Docken

Works. Plaintiff has been and continues to be irreparably damaged through loss of control over the

creative content of the valuable copyrights, reputation, goodwill, the quality, and ability to license

as a result of Defendants’ actions and seeks injunctive and monetary relief.

                                        THE PLAINTIFF

       8.      Plaintiff, Russell James Docken, is the owner of the Copyright Registrations that

protect the creative content of the Russ Docken Works. Docken is a professional painter who

creates Western living, wildlife, and Native American art. His oil paintings are sensitive

interpretations of people often shown in idealistic settings. Nothing is more intriguing to him than

to look at the diversity and beauty of the human form. He studied liberal arts at North Dakota State

University, taking a special interest in life drawing classes. He began a highly developed, personal

study of the old masters and worked under the tutelage of Howard Rogers to gain additional

insights into figure painting and the complexity of human anatomy. After graduating, Docken



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worked eleven years for Jostens, painting mascots and coats of arms for schools across the country.

In 1992, he left Jostens to fulfill his dream of painting full-time. His work has been featured on

local news channels and in magazines such as Southwest Art, Art of the West, and Wildlife Art

News. His original paintings are found in private collections across the United States, and they

have been reproduced in limited edition prints and licensed on products sold throughout the world.

       9.      Docken has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the Russ Docken Works. As a result, products associated

with the Russ Docken Works are recognized and exclusively associated by consumers, the public,

and the trade as products authorized by Docken (the “Russ Docken Products”).




https://wildwings.com/collections/russ-docken-art?sort=best-
selling&pf_t_genre=SCENE%3A%20Native%20American

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       10.     Plaintiff is the owner of the United States Copyright Registrations that cover the

Russ Docken Works. The Registrations are valid, subsisting, and in full force and effect. True and

correct copies of the registration certificates are attached hereto as Exhibit 1.

       11.     In an effort to illegally profit from the creative content of the Russ Docken Works,

Defendants have created numerous Defendant Internet Stores and designed them to appear to be

selling authorized Russ Docken Products. Upon information and belief, Defendants facilitate sales

by designing the Defendant Internet Stores so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers selling genuine Russ Docken Products.

       12.     Docken has invested substantial time, money, and effort in building up and

developing consumer awareness, goodwill, and recognition in the Russ Docken Works.

       13.     The success of the Russ Docken Works is due in large part to Plaintiff’s marketing,

promotional, and distribution efforts.

       14.     As a result of Plaintiff’s efforts, the quality of the Russ Docken Products, the

promotional efforts for Plaintiff's products and designs, press and media coverage, and social

media coverage, members of the public have become familiar with the Russ Docken Works and

associate them exclusively with Docken.

       15.     Docken has made efforts to protect Plaintiff's interests in and to the Russ Docken

Works. No one other than Docken and Plaintiff’s licensees are authorized to manufacture, import,

export, advertise, create derivative works, offer for sale, or sell any goods utilizing the Russ

Docken Works without the express written permission of Plaintiff.

        THE DEFENDANTS AND THE DEFENDANTS’ UNLAWFUL CONDUCT

       16.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct



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business throughout the United States, including within Illinois and in this judicial district, through

the operation of the fully interactive commercial websites and online marketplaces operating under

the Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell illegal Russ Docken

Products to consumers within the United States, including Illinois and in this judicial district.

                                       COUNT I
                                COPYRIGHT INFRINGEMENT

        17.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

        18.     The Russ Docken Works are original works and are copyrightable subject matter

under 17 U.S.C. § 101 et seq.

        19.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the Russ Docken

Works, including derivative works. The Russ Docken Works are the subject of valid Copyright

Registration Certificates issued by the Register of Copyrights. (Exhibit 1).

        20.     Each Defendant, without the permission or consent of Plaintiff, has sold and

continues to sell online pirated derivative works of the copyrighted Russ Docken Works. Each

Defendant has violated Plaintiff’s exclusive rights of reproduction and distribution. Each

Defendant’s actions constitute infringement of Plaintiff’s exclusive rights protected under the

Copyright Act (17 U.S.C. §101 et seq.).

        21.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees

and costs pursuant to 17 U.S.C. §505.




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       22.      The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C.

§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further

infringing Plaintiff’s copyrights and ordering that each Defendant destroy all unauthorized copies.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily, preliminarily,

and permanently enjoined and restrained from:

       a. using the Russ Docken Works or any reproductions, copies, or colorable imitations

             thereof in any manner in connection with the distribution, marketing, advertising,

             offering for sale, or sale of any product that is not an authorized Russ Docken Product

             or is not authorized by Plaintiff to be sold in connection with the Russ Docken Works;

       b. passing off, inducing, or enabling others to sell or pass off any product or not produced

             under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

             for sale under the Russ Docken Works;

       c. further infringing the Russ Docken Works and damaging Plaintiff’s goodwill;

       d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or inventory

             not authorized by Plaintiff to be sold or offered for sale, and which directly use the

             Russ Docken Works, and which are derived from Plaintiff’s copyrights in the Russ

             Docken Works; and



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         e. using, linking to, transferring, selling, exercising control over, or otherwise owning the

            Defendant Internet Stores, or any other online marketplace account that is being used

            to sell products or inventory not authorized by Plaintiff which are derived from

            Plaintiff’s copyright in the Russ Docken Works;

         2) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyrights pursuant to 17 U.S.C. §501;

and b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

         3) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined at

trial;

         4) That Plaintiff be awarded Plaintiff’s reasonable attorneys’ fees and costs; and

         5) Award any and all other relief that this Court deems just and proper.

DATED: April 3, 2025                                   Respectfully submitted,
                                                       /s/ Keith A. Vogt
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